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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                 4:08CR3178
                                              )
              v.                              )
                                              )       MEMORANDUM AND ORDER
LATRAIL L. TAYLOR,                            )
                                              )
                      Defendants.             )

       Michael D. Nelson, counsel for defendant Latrail Taylor, has moved to withdraw due
to a conflict of interest. Filing No. 131.

       Accordingly,

       IT IS ORDERED:

       (1)    The motion to withdraw filed by attorney Michael D. Nelson, (filing no. 131),
              is granted. Mr. Nelson shall promptly notify defendant Latrail Taylor of the
              entry of this order. The clerk shall delete Mr. Nelson from any future ECF
              notifications herein.

       (2)    The Federal Public Defender shall forthwith provide the court with a draft
              appointment order (CJA Form 20) bearing the name and other identifying
              information of the CJA Panel attorney identified in accordance with the
              Criminal Justice Act Plan for this district.

       DATED this 8th day of September, 2010.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
